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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                                                      PLAINTIFF

Vs.                         CASE NO. 4:11cr00129-04 JMM

REBECCA HENRY                                                              DEFENDANT

                                        ORDER


      Due to a clerical error, the Judgment entered February 1, 2013 (DE #702), is

amended to correct the recommendation to the Bureau of Prisons. The court recommends

to the Bureau of Prisons that the defendant shall serve her term of imprisonment at Bryan,

Texas or Carswell, Texas.

      The Clerk is requested to provide a copy of this Order to the United States Marshals

Service and United States Probation Office.

      IT IS SO ORDERED this 7th day of February, 2013




                                          UNITED STATES DISTRICT JUDGE
